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 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9

10
      LATESHA WATSON,                                  Case No.: 2:20-cv-01761-APG-BNW
11
                               Plaintiff,
12    vs.                                              STIPULATION AND ORDER TO EXTEND
                                                       TIME FOR DEFENDANTS, KEVIN
13    CITY OF HENDERSON; BRISTOL                       ABERNATHY AND KENNETH KERBY
      ELLINGTON; KEVIN ABERNATHY;                      TO RESPOND TO PLAINTIFF’S
14    KENNETH KERBY; DEBRA MARCH;                      COMPLAINT
      RICHARD DERRICK; RICHARD
15    MCCANN; NICK VASKOV; KRISTINA                    (First Request)
      GILMORE; DOES I through X, inclusive,
16
                                Defendants.
17

18

19           Defendants Kevin Abernathy and Kenneth Kerby, by and through their counsel of record,

20   the law firm of Clark Hill, PLLC, and Plaintiff Latesha Watson, by and through her counsel of

21   record, Cook & Kelesis, Ltd., hereby stipulate to the following:
            Plaintiff filed her Complaint [ECF 1] in the above matter on September 22, 2020 and
22
     served said Complaint upon Defendant Kevin Abernathy on October 8, 2020 and Defendant
23
     Kenneth Kerby on October 16, 2020.          These Defendants’ responses to the Complaint are
24
     currently due on October 29, 2020 and November 6, 2020. These Defendants requested and
25
     Plaintiff agreed to stipulate, pursuant to IA Rule 6-1 of the Local Rules for the United States
26
     District Court District of Nevada, to an extension up through and including December 18, 2020
27
     for these Defendants to file responses to the Complaint.
28
     Case 2:20-cv-01761-APG-BNW Document 28 Filed 11/09/20 Page 2 of 2



 1          This extension is requested to provide these Defendants additional time to investigate the

 2   allegations set forth in the Complaint and prepare appropriate responses. This extension is made

 3   in good faith and is not made for the purpose of delay.

 4          IT IS SO STIPULATED on this 27 day of October, 2020.

 5   COOK & KELESIS, LTD.                                 CLARK HILL PLLC

 6
     By: /s/ Marc P. Cook                                 By: /s/ Nicholas M. Wieczorek
 7
        Marc P. Cook, Nevada Bar No. 4574                    Nicholas M. Wieczorek
 8      George P. Kelesis, Nevada Bar No. 00069              Nevada Bar No. 6170
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11
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12      Attorneys for Plaintiff, Latesha Watson              Attorneys for Defendants
                                                             Kevin Abernathy and Kenneth Kirby
13

14

15                                          ORDER
             IT IS SO ORDERED.
      IT IS ORDERED that the parties' stipulation to extend the time for defendant
16
      Abernathy's and defendant Kerby's responses to plaintiff's complaint is GRANTED.
17    The deadline for these responses is December 18, 2020.
                                              _______________________________________
18    IT IS FURTHER ORDERED that the Clerk      of DISTRICT
                                              U.S. Court is directed
                                                              COURTtoJUDGE
                                                                      STRIKE from the
      record ECF No. 27 because it was filed in error.
19

20                                                     IT IS SO ORDERED
21                                                     DATED: 8:40 pm, November 09, 2020

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23
                                                       BRENDA WEKSLER
24                                                     UNITED STATES MAGISTRATE JUDGE
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                                                 Page 2 of 2
